                           UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF TENNESSEE
                                   AT KNOXVILLE


UNITED STATES OF AMERICA                            )
                                                    )
                                                    )
                                                    )       No. 3:07-CR-51
V.                                                  )       (PHILLIPS/SHIRLEY)
                                                    )
                                                    )
                                                    )
CASSIE MCKENZIE                                     )

                       ORDER OF DETENTION PENDING TRIAL


               An arraignment and detention hearing were held in this case on May 15, 2007.

David Jennings, Assistant United States Attorney, was present representing the government,

and Jonathan Wood was present representing the defendant. Before the detention hearing

began, counsel for the defendant stated that the defendant wished to waive her right to a

detention hearing at this time but reserved the right to have a detention hearing at a later date,

if appropriate. Pursuant to the defendant signing a Waiver of Detention Hearing, the

defendant is to be detained. 18 U.S.C. § 3142(f)(2)(B). The government stated it had no

objections. The defendant was present. For good cause, and by agreement of the defendant,

this detention hearing is waived and the defendant is detained.

               The defendant is aware of her rights to a prompt detention hearing and to

require the government to meet its burden of proving that no conditions of release exist

which will reasonably assure her appearance in court and the safety of the community. The

defendant knows that if her detention hearing is waived she will remain in custody while it


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is continued. The defendant acknowledged in open court that she understands her rights and

the consequences of waiving her detention hearing.

             For good cause shown, the defendant’s request not to contest, and to waive the

detention hearing is hereby GRANTED.

             It is therefore ORDERED that:

             (1)    Defendant be detained.;

             (2)    Defendant be committed to the custody of the Attorney
                    General for confinement in a corrections facility separate, to
                    the extent practicable, from persons awaiting or serving
                    sentences or being held in custody pending appeal;

             (3)    Defendant be afforded reasonable opportunity for private
                    consultation with counsel; and

             (4)    On order of a court of the United States or on request of an
                    attorney for the government, the person in charge of the
                    corrections facility in which the defendant is confined
                    deliver the defendant to a United States marshal for the
                    purpose of an appearance in connection with any court
                    proceeding.


                                  ENTER:


                                           s/ C. Clifford Shirley, Jr.
                                         United States Magistrate Judge




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